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                    IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
_____________________________________________________________________________
YOLANDA WATSON                      :
                                    :
                                    :     JURY OF TWELVE DEMANDED
           Plaintiff,               :
                                    :
           v.                       :
                                    :
HOMEWOOD SUITES BY HILTON, et al :
                                    :     No.: 21-04985
                                    :
           Defendants               :_________________________________________


     STIPULATION OF DISMISSAL OF DEFENDANT, HOMEWOOD SUITES BY

                                           HILTON


       Plaintiff, Yolanda Watson (“Plaintiff”) and Defendants, Homewood Suites by Hilton and
Hersha Hospitality Management, LP, by and through their undersigned attorneys, hereby
stipulate and agree to dismiss Defendant, Homewood Suites by Hilton only, from the above
captioned civil action, with prejudice. This dismissal does not apply to Hersha Hospitality
Management, LP.




 s/ Graham F. Baird                                    s/ Thomas J. Szymanski

Graham F. Baird, Esq.                               Thomas J. Szymanski, Esq.

Law Office of Eric A. Shore, P.C.                   FordHarrison, LLP

Attorney for Plaintiff, Yolanda Watson              Attorney for Defendants




Dated: 1/21/2022
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                                          BY THE COURT:


Dated: January 21, 2022
                                           /s/ Mitchell S. Goldberg
                                          _________________________
                                                                , U.S.D.J.
